              Case 19-30420-KKS      Doc 36     Filed 09/03/19    Page 1 of 2




                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF FLORIDA
                            (PENSACOLA DIVISION)
                              www.flmb.uscourts.gov

In re:                                                Case No. 19-30420-KKS

MICHELLE JEAN BRACE                                   Chapter 7
CHRISTOPHER KEITH BRACE

      Debtors.
_____________________/

ORDER GRANTING AMENDED AGREED MOTION OF BMO HARRIS BANK,
     N.A. FOR RELIEF FROM THE AUTOMATIC STAY (DOC. 35)

         THIS CASE came on for consideration of the Amended Agreed Ex-Parte Motion

for Relief from the Automatic Stay in Favor of Creditor, BMO Harris Bank, N.A. (Doc.

No. 35) (“Agreed Motion”). Having considered the Agreed Motion and being advised

that the Debtors and the Chapter 7 Trustee consent to the relief requested, the Court

deems the Agreed Motion to be uncontested. The Court makes no determination that the

Debtors have defaulted on the underlying obligation or as to the standing of BMO Harris

Bank, N.A. (“Movant”). It is

         ORDERED:

         1.     The Agreed Motion is GRANTED.

         2.     The automatic stay arising by reason of 11 U.S.C. § 362 is terminated as

to the Movant’s interest in the following property:

                    2018 GMC Terrain (VIN: 3GKALMEX7JL127135)

(the “Vehicle”).
            Case 19-30420-KKS        Doc 36     Filed 09/03/19     Page 2 of 2



       3.      The automatic stay is modified for the sole purpose of allowing Movant to

obtain in rem relief against the Vehicle, to take any and all steps necessary to exercise

any and all rights it may have in the Vehicle, to gain possession of the Vehicle, to furnish

to the Debtors any notices required under state law regarding the date of any sale of the

Vehicle and disposition of the proceeds of the sale, and to have such other and further in

rem relief as is just, but the Movant shall not obtain in personam relief against the

Debtors.

       4.      The Trustee retains the Estate’s interest in the Vehicle. Movant shall

notify the Trustee should there be any surplus funds from the sale of the Vehicle.

                             September 3, 2019.
       DONE AND ORDERED on ____________________________




                                      _________________________________
                                      KAREN K. SPECIE
                                      U.S. Bankruptcy Judge

Attorney Bradley J. Anderson, Esquire is directed to serve a copy of this order on
interested parties and file a certificate of service within 3 business days of entry of the
order.

Copies to:
Christopher Keith Brace, 1202 Grandview Drive, Crestview, FL 32539;
Michelle Jean Brace, 1202 Grandview Drive, Crestview, FL 32539;
Harold F. Peek, Jr., Esquire, Law Office of Harold F. Peek, Jr., P.O. Box 36, Valparaiso,
FL 32580;
Sherry Chancellor, Trustee, Law Office of Sherry F. Chancellor, 619 West Chase St.,
Pensacola, FL 32502;

Order prepared by Bradley Anderson, Esquire.




[10230-63/7510924/1]                             2
